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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §              Case No: 2:15-cv-01877-JRG-RSP
                                     §
 vs.                                 §              LEAD CASE
                                     §
 AMERICAN HONDA MOTOR CO., INC. §
                                     §
       Defendant.                    §
 ___________________________________ §
 ROTHSCHILD CONNECTED DEVICES §
 INNOVATIONS, LLC                    §
                                     §
       Plaintiff,                    §              Case No: 2:15-cv-01880-JRG-RSP
                                     §
 vs.                                 §              CONSOLIDATED CASE
                                     §
 MERCEDES- BENZ USA, LLC             §
                                     §
       Defendant.                    §
 ___________________________________ §

                  PLAINTIFF ROTHSCHILD CONNECTED DEVICES
                INNOVATIONS, LLC’s ANSWER TO COUNTERCLAIMS
                   OF DEFENDANT MERCEDES- BENZ USA, LLC

       Plaintiff Rothschild Connected Devices Innovations, LLC (“RCDI”) respectfully

 submits this Answer to the counterclaims asserted by Mercedes-Benz USA, LLC

 (“Mercedes”) in its Answer to First Amended Complaint and Counterclaims (“Answer”).

                                   COUNTERLCLAIMS

                               NATURE OF THE LAWSUIT

        1.     RCDI admits that Mercedes is seeking declaratory judgment of non-

 infringement and invalidity. RCDI denies the remaining allegations contained in paragraph 1.




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                                          PARTIES

        2.      RCDI is without sufficient knowledge to form a belief as to the allegations

 contained in paragraph 2 and, therefore, denies same.

        3.      Admitted.

                               JURISDICTION AND VENUE

        4.      RCDI admits that this Court has subject matter jurisdiction over the

 counterclaims and that this is a compulsory counterclaim.         RCDI denies the remaining

 allegations contained in paragraph 4.

        5.      RCDI admits that venue is proper in this judicial district. RCDI denies the

 remaining allegations contained in paragraph 5.

        6.      Admitted.

                                           COUNT I

                              (Declaration of Non-Infringement)

        7.      RCDI incorporates its answers to paragraphs 1-6 herein.

        8.      RCDI admits that it has accused Mercedes of infringing claim 1 of the ‘090

 Patent and that a case or controversy exists as to infringement of claim of the ‘090 Patent.

 RCDI denies the remaining allegations contained in paragraph 8.

        9.      Denied.

                                          COUNT II

                                  (Declaration of Invalidity)

        10.     RCDI incorporates its answers to paragraphs 1-9 herein.

        11.     Denied.




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                                    PRAYER FOR RELIEF

        To the extent that any response is required to the Request for Relief, RCDI denies that

 Defendant is entitled to judgment or any of the relief it has requested.




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 Dated: March 3, 2016                         Respectfully submitted,

                                              /s/ Jay Johnson
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                                              ATTORNEYS FOR PLAINTIFF


                                 CERTIFICATE OF SERVICE

 The undersigned certifies that all counsel of record who have consented to electronic service are
 being served with a copy of this document via the Court’s CM/ECF system per Local Rule CV-
 5(a)(3) on March 3, 2016.

                                              /s/ Jay Johnson
                                              Jay Johnson




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